                     THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                   CRIMINAL CASE NO. 1:13-cr-00042-MR-DLH-9


UNITED STATES OF AMERICA,           )
                                    )
                                    )
                  vs.               )               ORDER
                                    )
                                    )
GERALD WILLIAM LOCKLEAR.            )
___________________________________ )

        THIS MATTER is before the Court on the Defendant’s Motion to Seal Document [Doc.

184].

        For the reasons stated in the Defendant’s motion, and for cause shown,

        IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Seal Document [Doc.

184] is GRANTED, and the Defendant’s Motion to Continue [Doc. 183] shall remain under seal

pending further Order of this Court.

        IT IS SO ORDERED.

                                                      Signed: February 18, 2014




    Case 1:13-cr-00042-MR-DLH            Document 187         Filed 02/18/14      Page 1 of 1
